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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

 

Return
Case No.: Date and time warrant executed: Copy of warrant avd-dmventory left with:

 

 

 

Inventory made in the presence of :

N/A

 

Inventory of the property taken and name of any person(s) seized:

Elechene om as Acceurb cnnr belts 177 @gmaileom

 

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: GS / M/2oOlF Pie Porn

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Ex pCuting oper 5 signature
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“Printed name and title

 

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AO 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Southern District of Ohio

In the Matter of the Search of

(Briefly describe the property to be searched

or identify the person by name and address)
SAMSUNG ACCOUNT ASSOCIATED WITH EMAIL
ADDRES CNNRBETTS477@GMAIL.COM THAT IS
STORED AT PREMISES CONTROLLED BY SAMSUNG
ELECTRONICS AMERICA, INC.

Case No.

thay

&

SEARCH AND SEIZURE WARRANT

 

To: Any authorized law enforcement officer
An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the _ Northern __ District of Texas _
(identify the person or describe the property to be searched and give its location):
SEE ATTACHMENT A

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

SEE ATTACHMENT B

YOU ARE COMMANDED to execute this warrant on or before August 30, 2019 __ (not to exceed 14 days)
© in the daytime 6:00 a.m. to 10:00 p.m. Mat any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to Hon. Michael J. Newman
(United States Magistrate Judge)

Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to soley ngage’ to the person who, or whose
property, will be searched or seized (check the appropriate box) << K

O for days (not to exceed 30) 1 until, the facts justifying, the later spit ic date or 4 nN

 

9A
Date and time issued: x \ Z \ b oa Y
| tt 1 (
City and state: Dayton, Ohio Hon Michael J. Newman, U. S, Aasiatvate Judge
Printed: Rae and title

 

 

 

 
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ATTACHMENT A
Property to Be Searched
This warrant applies to information associated with an accounted associated with email
address cnnrbetts477@gmail.com that is stored at premises owned, maintained, controlled, or

operated by Samsung Electronics America, Inc. (Samsung), headquartered in Richardson, Texas.
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ATTACHMENT B
Particular Things to be Seized
I. Information to be disclosed by Samsung Electronics America, Inc. (the
“Provider”)

To the extent that the information described in Attachment A is within the possession,
custody, or control of the Provider, regardless of whether such information is located within or
outside of the United States, and including any emails, records, files, logs, or information that
has been deleted but is still available to the Provider, or has been preserved pursuant to a request
made under 18 U.S.C. § 2703(f), the Provider is required to disclose the following information to
the government for each account or identifier listed in Attachment A for the period of January
1, 2013 to present:

1. All contact and personal identifying information, including: full name, user
identification number, birth date, gender, contact e-mail addresses, passwords, security questions
and answers, physical address (including city, state, and zip code), telephone numbers, screen
names, websites, and other personal identifiers:

De All electronic files stored online via Samsung Cloud, stored and presently
contained in, or on behalf of the account described above:

3: All records indicated the services available to subscribers of the electronic mail
addresses and/or individual account described above;

4, All search history stored and presently contained in, or on behalf of the account
described above including, if applicable, web and application activity history (including search
terms), device information history, and location history;

5. All activity logs for the account and all other documents showing the user’s
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activities;
6. All photos and videos uploaded by that user ID and all photos and videos

uploaded by any user that have that user tagged in them:

7. All Samsung Cloud messages and photographs that may be stored;

8. All cloud device backups and/or device restore files;

9, All contacts, bookmarks, home screen, and Galaxy store downloads and
purchases;

10. All subscriber records for any Samsung account associated by cookies, email

address, or telephone number to the account described above
11. All location information stored in the Samsung account:
12. All IP logs, including all records of the IP addresses that logged into the account:
13. The length of service (including start date), the types of service utilized by the
user, and the means and source of any payments associated with the service (including any credit

card or bank account number);

14. All privacy settings and other account settings;
15. All associated and/or previously registered devices:
16. All cookie data and associate machines and accounts collected by Samsung for

user's account to include, but not limited to, browser information if available and other pages
and groups where the user (or the associated user) is the creator.

17. All records pertaining to communications between the Provider and any person
regarding the account, including contacts with support services and records of actions taken.
The Provider is hereby ordered to disclose the above information to the government within

fourteen days of service of this warrant.

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IL. Information to be Seized

All records on the Account described in Attachment A that relate to violations of:

18 U.S.C. § 922(g)(3)
18 U.S.C. § 922(a)(6)

18 U.S.C. § 924(a)(1)(A)
18 U.S.C. § 1001

21 U.S.C. § 844

and involve Connor Stephen BETTS (BETTS) since January 1, 2013, including:

a.

b.

Any information related to the purchase, use, or possession of firearms;

Any information related to the purchase, use, or sale of controlled substances:
Any information related to the types, amounts, and prices of controlled
substances or firearms purchased, used, or trafficked as well as dates, places, and
amounts of specific transactions;

Any information related to sources of controlled substances or firearms
(including names, addresses, phone numbers, or any other identifying
information);

Any information recording BETTS’ schedule or travel from 2013 to the present:
All bank records, checks, credit card bills, account information, and other
financial records;

Records of Internet Protocol addresses used:

Records of Internet activity, including firewall logs, caches, browser history and
cookies, “bookmarked” or “favorite” web pages, search terms that the user

entered into any Internet search engine, and records of user-typed web addresses;

This warrant authorizes a review of electronically stored information, communications,

other records and information disclosed pursuant to this warrant in order to locate evidence,

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fruits, and instrumentalities described in this warrant. The review of this electronic data may be
conducted by any government personnel assisting in the investigation, who may include, in
addition to law enforcement officers and agents, attorneys for the government, attorney support
staff, and technical experts. Pursuant to this warrant, the FBI may deliver a complete copy of the
disclosed electronic data to the custody and control of attorneys for the government and their

support staff for their independent review.

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